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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
JAY GLENN                            )
                                     )
                  Plaintiff,         )
                                     )
v.                                   )    Case No. 16-cv-2498 (RCL/GMH)
                                     )
THOMAS FORTUNE FAY, et al.,          )
                                     )
                  Defendant.         )
____________________________________)

                              MEDIATION STANDING ORDER

       This matter has been referred to the undersigned for the purpose of mediation.

Accordingly, it is hereby

       ORDERED that counsel for all parties involved in the mediation shall confer regarding

dates for a settlement conference. After the parties have conferred, counsel for all parties shall

inform the undersigned, via email to the undersigned’s law clerk, identified below, of three (3)

dates within the mediation referral period which are acceptable to all parties involved. The

undersigned will then select an appropriate date and set the conference on the Court’s docket. If

the parties fail to apprise the undersigned of their desired settlement conference dates within three

(3) business days of this Order, the undersigned shall set the conference unilaterally. It is further

       ORDERED that the conference shall be attended by an authorized representative of each

party involved, together with trial counsel for each party. An insured party need not attend unless

the settlement decision will be made in part by the insured. When the settlement decision will be

made in whole or in part by an insurer, the insurer shall send a representative in person with full

and complete authority to make settlement decisions unless an exception is requested and granted
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by the undersigned for good cause shown. A corporate party shall send a representative with full

and complete authority to bind the company unless an exception is requested and granted by the

undersigned for good cause shown. A governmental entity shall send a representative authorized

to act on its behalf. It is further

        ORDERED that the parties shall each provide to the undersigned, ex parte, a short and

confidential mediation statement by close of business seven (7) days prior to mediation. The

mediation statement shall not become a part of the file in the case but shall be for the exclusive

use of the undersigned in preparing for and conducting the settlement conference. The mediation

statement should be sent via email to the undersigned’s law clerk, identified below. In these

statements, the parties shall each include:

        (a)     the name, title, and contact information of each person who will be participating in
                the mediation on behalf of that party and designate which individuals will have
                settlement or negotiating authority;

        (b)     a candid assessment of the major legal and factual issues in the case, including the
                strengths and weaknesses of the claims and/or defenses raised;

         (c)    if discovery has not been completed, an explanation of whether the exchange of
                any documents or records prior to mediation would make the mediation session
                more productive and a description of the nature of any such documents or records;

         (d)    the potential monetary exposure of any applicable damages and/or attorney’s fees
                claims;

        (e)     a history of previous settlement negotiations, if any;

        (f)     the party’s ideas on how the case could be resolved at this juncture;

        (g)     any impediments to settlement that the party perceives; and

        (h)     a present settlement proposal.

If there are any key documents that the undersigned should review prior to the settlement

conference, please attach them. The mediation statements should not be lengthy, but should



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contain enough information to be useful to the undersigned in analyzing the factual and legal issues

in the case. The parties are directed to be candid in their mediation statements. It is further

       ORDERED that in the event that a participant requires sign language interpreting during

mediation, the parties shall notify the Court of that request at least three weeks prior to the

mediation. If the parties require any other language interpretation or translation services, they are

responsible for providing it themselves.

       The parties are further advised of the following:

       (a)     The undersigned sets settlement conferences at 10:00 a.m. on any weekday.
               However, during the undersigned’s criminal duty months (February, May, August,
               and November), the undersigned’s availability is more limited.

       (b)     If any party will be traveling to the District of Columbia for the mediation, no return
               travel plans should be made on the day of the mediation.

       (c)     The settlement conference will take place in Courtroom 6 within the E. Barrett
               Prettyman United States Courthouse located at 333 Constitution Avenue N.W.,
               Washington, D.C. 20001. The nearest Metro stop is Judiciary Square on the Red
               Line.


       SO ORDERED.
                                                                        Digitally signed by G.
                                                                        Michael Harvey
                                                                        Date: 2018.04.10
Date: April 10, 2018                                  ___________________________________
                                                                        13:58:28 -04'00'
                                                      G. MICHAEL HARVEY
                                                      UNITED STATES MAGISTRATE JUDGE

Assigned Law Clerk:
Meghan Claire Hammond
202-354-3135
meghan.hammond@dcd.uscourts.gov




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